 EXHIBIT A

Proposed Order
                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


                                                                Chapter 11
In re:
                                                                Case No. 23-10852 (KBO)
iMedia Brands, Inc., et al.,1
                                                                (Jointly Administered)
                                             Debtors.
                                                                Ref. Docket No. ___


                 ORDER, PURSUANT TO SECTION 365(d)(4) OF THE
         BANKRUPTCY CODE, EXTENDING THE DEADLINE FOR THE DEBTORS
          TO ASSUME OR REJECT UNEXPIRED LEASES OF NONRESIDENTIAL
         REAL PROPERTY UNDER WHICH ANY OF THE DEBTORS IS A LESSEE

          Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors in possession (the “Debtors”) for entry of an order, pursuant to section 365(d)(4) of the

Bankruptcy Code, granting the Debtors an extension, through and including January 24, 2024, of

the statutory deadline for the Debtors to assume or reject the Real Property Leases; and due and

proper notice of the Motion having been given; and it appearing that no other or further notice of

the Motion is required; and it appearing that the Court has jurisdiction to consider the Motion in

accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order; and it appearing

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of

this proceeding and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: ValueVision Media Acquisitions, Inc. (8670); Legacy IMBDS, Inc. (f/k/a iMedia Brands, Inc.)
    (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc.
    (5552); ValueVision Retail Inc. (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC
    (0154); EP Properties, LLC (3951); FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867
    Grand Avenue, LLC (2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-
    3433.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
appearing that good and sufficient cause exists for the relief set forth in this Order; and after due

deliberation, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.      The Motion is granted, as set forth herein.

        2.      Pursuant to section 365(d)(4) of the Bankruptcy Code, the deadline under section

365(d)(4) of the Bankruptcy Code for the Debtors to assume or reject any Real Property Leases

is   hereby extended through and including January 24, 2024 (the “Assumption/Rejection

Deadline”).

        3.      This Order shall be without prejudice to the Debtors’ rights to seek a further

extension of the Assumption/Rejection Deadline with the consent of the affected Lessors

pursuant to section 365(d)(4)(B)(ii) of the Bankruptcy Code.

        4.      This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




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